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VAN−099 Order Continuing Confirmation Hearing − Rev. 03/12/2019

                             UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                                        Wilmington Division

IN RE:
William A Purcell                                                 CASE NO.: 19−00570−5−SWH
( debtor has no known aliases )
314 N 26th St                                                     DATE FILED: February 8, 2019
Wilmington, NC 28405
                                                                  CHAPTER: 13

Jehan S Purcell
 ( debtor has no known aliases )
314 N 26th St
Wilmington, NC 28405



                                    ORDER CONTINUING CONFIRMATION HEARING

IT IS ORDERED that the hearing on confirmation is continued.

DATE:          Tuesday, August 6, 2019
TIME:          10:30 AM
PLACE:         Alton Lennon Federal Building, 2 Princess Street, Wilmington, NC 28401



The movant must transmit a copy of this order to all creditors, and a certificate of service must be filed
with the court within three (3) days evidencing service.



DATED: July 2, 2019

                                                                     Stephani W. Humrickhouse
                                                                     United States Bankruptcy Judge
